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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  WINERIES OF THE OLD MISSION
  PENINSULA ASSOC., et al.,

        Plaintiffs,                                   Case No. 1:20-cv-1008

  v.                                                  HON. PAUL L. MALONEY

  TOWNSHIP OF PENINSULA,

        Defendant.
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                               ORDER ADJOURNING TRIAL

       For the reasons stated on the record at the hearing held on today's date:

       IT IS HEREBY ORDERED that the trial scheduled to commence August 16, 2022 is

 ADJOURNED pending further order of the Court.



 Dated: August 8, 2022                                        /s/ Paul L. Maloney
                                                             Paul L. Maloney
                                                             United States District Judge
